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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

SAMA CAMP, LLC,
      Plaintiff,
v.                                           CIVIL ACTION NO. 1:22-cv-01722-TCB

SAMA TEA, LLC; SAMA
WORLDWIDE INC.; SAMA
BEVERAGES, LLC; 100.CO; JAY
SHETTY; RADHI DEVLUKIA
SHETTY; KIM PERELL; and JAMES
BRENNAN,
      Defendants.

      MOTION FOR ORAL ARGUMENT ON MOTION TO DISMISS

      Plaintiff filed its Motion to Dismiss on August 11, 2022. ECF No. 25. The

Motion has now been fully briefed and submitted to the Court for review. To assist

with that review, Plaintiff requests that the parties be given the benefit of oral

argument. Pursuant to the Court’s Instructions to Parties and Counsel, “the Court

will consider any request for hearing” but “shall grant a request for oral argument

on a contested, substantive motion if the request states that a lawyer of less than five

years out of law school will conduct the oral argument.” Instructions to Parties and

Counsel in Civil Cases Proceeding Before Judge Batten ¶ 19. 1


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 See http://www.gand.uscourts.gov/case-prep-judge-batten (last visited Sept. 13,
2022).
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      The undersigned counsel plans to lead the oral argument on Plaintiff’s behalf.

Although she is just over five years out of law school, she has only been practicing

adversarially for approximately three-and-a-half years, having spent time as a

federal judicial term clerk for part of her career. Moreover, given the constraints of

the COVID-19 crisis, she has not had the opportunity to argue a motion in-person in

several years. Accordingly, Plaintiff respectfully requests that the Court schedule

oral argument on Plaintiff’s pending Motion to Dismiss.

      Respectfully submitted, this 13th day of September, 2022.

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             LOCAL RULE 7.1 COMPLIANCE CERTIFICATE

      I hereby certify that the foregoing Motion for Oral Argument on Motion to

Dismiss was prepared using Times New Roman 14-point font, and otherwise

conforms to the requirements of Local Rule 5.1(c) and 7.1.D.

      This 13th day of September, 2022.

                                            /s/Tayah Woodard/
                                            Tayah Woodard
